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                     UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO

 STATE OF OHIO,                            )
                                           )
              Plaintiff,                   )
                                           )
              v.                           )    No. 1:21-cv-181
                                           )
 JANET YELLEN, in her official capacity    )
 as Secretary of the Treasury; RICHARD     )
 K. DELMAR, in his official capacity as    )
 acting inspector general of the           )
 Department of Treasury; and U.S.          )
 DEPARTMENT OF THE TREASURY,               )
                                           )
              Defendants.                  )
                                           )

                   MOTION FOR ADMISSION PRO HAC VICE
      Pursuant to S.D. Ohio Civ. R. 83.3(e) and 83.4(a), attorney Jeffrey J. Zeiger,

P.C., a member of this court’s bar, hereby moves the Court to admit Paul D. Clement,

pro hac vice to appear and participate as counsel for amici curiae the United States

Chamber of Commerce and the National Federation of Independent Business Small

Business Legal Center.

      Movant hereby represents that Mr. Clement is a member in good standing of

the highest court of the State of Virginia, as attested by the accompanying certificate

from that court (Exhibit A), and that Mr. Clement is not eligible to become a member

of the permanent bar of this Court. This motion is accompanied by the required

$200.00 filing fee.
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      Mr. Clement understands that he must register for electronic filing with this

Court promptly upon the granting of this Motion.

      Mr. Clement’s relevant identifying information is as follows:

      Business address: Kirkland & Ellis LLP
                        1301 Pennsylvania Avenue NW
                        Washington, D.C. 20004
      Business telephone: (202) 389-5000

      Business fax: (202) 389-5200

      Business e-mail address: paul.clement@kirkland.com

                                            Respectfully submitted,

                                            s/Jeffrey J. Zeiger
                                            JEFFREY J. ZEIGER, P.C.
                                            KIRKLAND & ELLIS LLP
                                            300 North LaSalle
                                            Chicago, IL 60654
                                            (312) 862-3237
                                            jeffrey.zeiger@kirkland.com
April 8, 2021




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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 8, 2021, I electronically filed the foregoing

with the Clerk of the Court for the United States District Court for the Southern

District of Ohio by using the CM/ECF system. I certify that all participants in this

case are registered CM/ECF users and that service will be accomplished by the

CM/ECF system.



      April 8, 2021

                                                   s/Jeffrey J. Zeiger
                                                   Jeffrey J. Zeiger, P.C.
